USCA Case #24-1193       Document #2096374             Filed: 01/24/2025   Page 1 of 38

                     ORAL ARGUMENT NOT YET SCHEDULED
                                       24-1193
                               (and consolidated cases)

                 United States Court of Appeals
               for the District of Columbia Circuit


                        CHAMBER OF COMMERCE OF THE
                       UNITED STATES OF AMERICA, et al.,
                                                       Petitioners,
                                           v.
              U.S. ENVIRONMENTAL PROTECTION AGENCY, et al.,
                                                       Respondents.


                     On Petition for Review of Final Action
             by the United States Environmental Protection Agency

    BRIEF FOR STATES OF NEW YORK, ARIZONA, COLORADO,
    CONNECTICUT, ILLINOIS, MARYLAND, MASSACHUSETTS,
  MICHIGAN, MINNESOTA, NEW JERSEY, NEW MEXICO, OREGON,
     WASHINGTON, AND WISCONSIN, AND THE DISTRICT OF
  COLUMBIA, AS AMICI CURIAE IN SUPPORT OF RESPONDENTS

BARBARA D. UNDERWOOD                        LETITIA JAMES
 Solicitor General                           Attorney General
JUDITH N. VALE                               State of New York
 Deputy Solicitor General                   28 Liberty Street
JOSHUA N. COHEN                             New York, New York 10005
 Assistant Solicitor General                (212) 416-8039
PHILIP BEIN
 Senior Counsel
KYLE BURNS                                  Dated: January 24, 2025
MIHIR DESAI
 Assistant Attorneys General
      of Counsel
                     (Additional counsel listed on signature pages.)
USCA Case #24-1193   Document #2096374         Filed: 01/24/2025   Page 2 of 38




                  CERTIFICATE AS TO PARTIES,
                 RULINGS, AND RELATED CASES

     (A) Parties and Amici: Except for amici curiae New York, Arizona,

Colorado, Connecticut, the District of Columbia, Illinois, Maryland,

Massachusetts, Michigan, Minnesota, New Jersey, New Mexico, Oregon,

Washington, and Wisconsin, all parties, intervenors, and amici appearing

before this Court are listed in the Brief for U.S. Environmental Protection

Agency, Doc. No. 2094951.

     (B) Rulings Under Review: References to the rulings at issue

appear in the Brief for U.S. Environmental Protection Agency, Doc. No.

2094951.

     (C) Related Cases: This case has not previously been before this

Court or any other court. There are no “other related cases,” as defined

by Circuit Rule 28(a)(1)(C).




                               Certificate-1
USCA Case #24-1193             Document #2096374                 Filed: 01/24/2025        Page 3 of 38




                                 TABLE OF CONTENTS

                                                                                                 Page

TABLE OF AUTHORITIES ...................................................................... ii

GLOSSARY ............................................................................................. vii

INTERESTS OF AMICI CURIAE ............................................................ 1

SUMMARY OF THE ARGUMENT .......................................................... 2

ARGUMENT ............................................................................................. 5

        I.      THE RULE PROPERLY DESIGNATES PFOA AND PFOS AS
                HAZARDOUS SUBSTANCES BECAUSE THEY PRESENT
                SUBSTANTIAL DANGER TO PUBLIC HEALTH, WELFARE,
                AND THE ENVIRONMENT. ........................................................... 5

                A.      Scientific Evidence Amply Supports the
                        Designation of PFOA and PFOS as Hazardous
                        Substances Given Their Toxicity, Prevalence,
                        Persistence, and Mobility in the Environment. ............ 6

                B.      In Amici States’ Experience, PFOA and PFOS
                        Cause Substantial Harm to Public Health,
                        Welfare, and the Environment. ................................... 13

        II.     THE RULE WILL ENHANCE STATES’ ABILITIES TO
                RESPOND TO PFOA AND PFOS CONTAMINATION
                PROMPTLY AND EFFECTIVELY, WHILE HOLDING THE
                PARTIES PRIMARILY RESPONSIBLE FOR THE
                CONTAMINATION ACCOUNTABLE FOR CLEANUP COSTS. ........... 18

CONCLUSION ........................................................................................ 26
USCA Case #24-1193              Document #2096374                   Filed: 01/24/2025          Page 4 of 38



                                TABLE OF AUTHORITIES


Cases                                                                                             Page(s)

Benoit v. Saint-Gobain Performance Plastics Corp.,
  959 F.3d 491 (2d Cir. 2020) .................................................................. 8

Env’t Def. Fund v. EPA,
  124 F.4th 1 (D.C. Cir. 2024) ......................................................... 12, 25

Loper Bright Enters. v. Raimondo,
  603 U.S. 369 (2024) ............................................................................. 12

New York v. Adamowicz,
  16 F. Supp. 3d 123 (E.D.N.Y. 2014) ................................................... 20

Statutes

Federal

42 U.S.C.
   § 9601 et seq. ......................................................................................... 1
   § 9601 .................................................................................................. 23
   § 9602 .................................................................................... 1, 5, 12, 17
   § 9603 .................................................................................................. 20
   § 9604 .................................................................................................. 19
   § 9607 ............................................................................................ 21–23
   § 9613 ............................................................................................ 21–23
   § 9620 .................................................................................................. 19
   § 9621 .................................................................................................. 19
   § 11004 ................................................................................................ 20

State

Alaska Stat. § 46.03.826.......................................................................... 16




                                                      ii
USCA Case #24-1193             Document #2096374                 Filed: 01/24/2025        Page 5 of 38



Regulations                                                                                  Page(s)

Federal

40 C.F.R. § 302.4 tbl. ......................................................................... 12, 25

43 C.F.R. § 11.15 ..................................................................................... 21

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  Superfund Response Actions, 75 Fed. Reg. 49414 (Aug. 13, 2010).......... 19

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  Perfluorooctanesulfonic Acid (PFOS) as CERCLA Hazardous
  Substances, 87 Fed. Reg. 54415 (Sept. 6, 2022) ................................. 17

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  Perfluorooctanesulfonic Acid (PFOS) as CERCLA Hazardous
  Substances, 89 Fed. Reg. 39124 (May 8, 2024) (to be codified
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State

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  § 75.341 tbl.B1 .................................................................................... 16
  § 75.345 tbl.C ...................................................................................... 16

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7 Del. Admin. Code § 1375-2.0 ................................................................ 16

301 Mass. Code Regs. 41.03 .................................................................... 16

Mich. Admin. Code r. 299.44 ................................................................... 16

N.J. Admin. Code § 7:1E app. A .............................................................. 16

6 N.Y.C.R.R. § 597.3 ................................................................................ 16

Wash. Admin. Code § 173-201A-240 ....................................................... 16
                                                   iii
USCA Case #24-1193               Document #2096374                   Filed: 01/24/2025          Page 6 of 38



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  2021.pdf ............................................................................................... 13


                                                       iv
USCA Case #24-1193              Document #2096374                  Filed: 01/24/2025          Page 7 of 38



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  508.pdf ................................................................................................. 10
                                                      v
USCA Case #24-1193           Document #2096374                Filed: 01/24/2025       Page 8 of 38



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                                                 vi
USCA Case #24-1193   Document #2096374     Filed: 01/24/2025   Page 9 of 38



                             GLOSSARY

CERCLA          Comprehensive Environmental Response,
                Compensation, and Liability Act

EPA             Environmental Protection Agency

PFAS            Per- and polyfluoroalkyl substances

PFOA            Perfluorooctanoic acid

PFOS            Perfluorooctanesulfonic acid




                                  vii
USCA Case #24-1193    Document #2096374       Filed: 01/24/2025   Page 10 of 38



                     INTERESTS OF AMICI CURIAE

      Congress enacted the Comprehensive Environmental Response,

Compensation, and Liability Act (CERCLA), 42 U.S.C. § 9601 et seq., to

establish a framework for cleaning up sites contaminated with hazardous

substances while holding the parties primarily responsible for the

contamination liable for the cleanup costs. In the rule challenged here,1

the Environmental Protection Agency (EPA) exercised its statutorily

delegated authority to designate two substances—perfluorooctanoic acid

(PFOA) and perfluorooctanesulfonic acid (PFOS)—as “hazardous sub-

stances” under CERCLA based on the agency’s determination that these

substances “when released into the environment may present substantial

danger to the public health or welfare or the environment,” 42 U.S.C.

§ 9602(a). 2

      The States of New York, Arizona, Colorado, Connecticut, Illinois,

Maryland, Massachusetts, Michigan, Minnesota, New Jersey, New Mexico,



      1Designation of Perfluorooctanoic Acid (PFOA) and Perfluoro-
octanesulfonic Acid (PFOS) as CERCLA Hazardous Substances, 89 Fed.
Reg. 39124 (May 8, 2024) (to be codified at 40 C.F.R. pt. 302) (the “Rule”).
      2All references to PFOA and PFOS in this brief include the
chemicals’ salts and isomers, which are also covered by the Rule. See 89
Fed. Reg. at 39125 n.1.
USCA Case #24-1193    Document #2096374      Filed: 01/24/2025   Page 11 of 38



Oregon, Washington, and Wisconsin, and the District of Columbia,

submit this brief in support of respondent EPA and in opposition to the

petition for review. The Rule unlocks CERCLA’s highly effective toolkit

to clean up PFOA- and PFOS-contaminated sites across the country.

Amici States have compelling interests in such remedial efforts to protect

the public health and welfare of our residents and the environment in

which they live. PFOA and PFOS are toxic, move readily into water and

soil, and do not degrade for extremely long periods of time. Thus, these

“forever chemicals” present substantial dangers to people and natural

resources in Amici States. Vacatur of the Rule would hinder state and

federal efforts to address PFOA and PFOS contamination and to provide

safe water for drinking, agriculture, and recreation within Amici States’

respective jurisdictions.


                     SUMMARY OF THE ARGUMENT

      I.   The EPA properly designated PFOA and PFOS, two of the

most widely used and understood types of per- and polyfluoroalkyl sub-

stances (PFAS), as hazardous substances under CERCLA. As both

extensive scientific evidence in the record and Amici States’ experience

establish, these chemicals present substantial dangers to public health,
                                    2
USCA Case #24-1193   Document #2096374       Filed: 01/24/2025   Page 12 of 38



welfare, and the environment when they are released into the

environment.

      Numerous scientific studies have found that PFOA and PFOS are

harmful to human health. Exposure to these chemicals is particularly

harmful to the growth and development of fetuses and children. And

these chemicals have also been linked to adverse health effects in adults

as well. Research confirms that certain properties of PFOA and PFOS

result in these chemicals spreading throughout the environment and

accumulating over time—which makes prolonged human exposure to

these chemicals more likely if contamination goes unremedied. For

example, PFOA and PFOS persist for long periods of time without

degrading, resulting in them accumulating in soil, water sources, food,

and humans. And these chemicals move easily after released, and thus

can move into soil, water sources, and food sources. The EPA engaged in

reasoned decision-making, well within the boundaries of its broad statutory

authority, when it explained why these characteristics warrant PFOA’s

and PFOS’s designation as hazardous substances.

      States’ experience with PFOA’s and PFOS’s harms further confirms

that the EPA acted reasonably in designating them as hazardous sub-


                                    3
USCA Case #24-1193   Document #2096374       Filed: 01/24/2025   Page 13 of 38



stances. Elevated levels of PFOA and PFOS have been detected in rivers,

lakes, streams, and the drinking water for millions of people across the

country. And many States have incurred substantial costs responding to

contaminated sites, testing public and private water resources, installing

water treatment technologies for drinking water, and providing for alter-

nate water supplies to their residents. Without the EPA’s designation of

PFOA and PFOS as hazardous substances, those costs are more likely to

be borne by state taxpayers rather than by the parties primarily

responsible for the contamination. And significant releases of these chem-

icals would go unreported, undermining many States’ remedial efforts.

      II.   States have decades of experience cleaning up hazardous

substances like PFOA and PFOS and holding the parties primarily

responsible for the contamination accountable under CERCLA. Based on

this experience, there is no merit to petitioners’ unsubstantiated specula-

tion that applying CERCLA to PFOA and PFOS will result in limitless,

unfair liability. There is no reason to expect that this designation would

be different than any of the previous designations of ubiquitous

substances. To the contrary, designating PFOA and PFOS provides

States with enhanced tools to respond to PFOA and PFOS contamination


                                    4
USCA Case #24-1193   Document #2096374      Filed: 01/24/2025   Page 14 of 38



promptly and efficiently while ensuring that response costs and natural

resource damages are appropriately and fairly paid by the parties

primarily responsible for the contamination.


                             ARGUMENT

I.    THE RULE PROPERLY DESIGNATES PFOA AND PFOS AS
      HAZARDOUS SUBSTANCES BECAUSE THEY PRESENT SUBSTANTIAL
      DANGER TO PUBLIC HEALTH, WELFARE, AND THE ENVIRONMENT.

      As the EPA correctly explains, it reasonably exercised its express

statutory authority to determine that PFOA and PFOS are hazardous

substances under CERCLA because both chemicals “when released into

the environment may present substantial danger to the public health or

welfare or the environment,” 42 U.S.C. § 9602(a). See Br. for U.S. EPA at

11–15, 28–31. Here, the extensive administrative record and Amici States’

experience amply demonstrate that the EPA properly determined that

PFOA and PFOS present substantial dangers to public health, welfare,

and the environment because, among other reasons, they are hazardous

to human health and have characteristics that significantly increase the

likelihood of human and environmental exposure to these substances.

Indeed, communities and residents in Amici States’ jurisdictions have

experienced and continue to experience the dangers of PFOA and PFOS.

                                   5
USCA Case #24-1193   Document #2096374       Filed: 01/24/2025   Page 15 of 38



      A.   Scientific Evidence Amply Supports the
           Designation of PFOA and PFOS as Hazardous
           Substances Given Their Toxicity, Prevalence,
           Persistence, and Mobility in the Environment.

      Extensive scientific evidence in the administrative record amply

supports the EPA’s determination that PFOA and PFOS present substan-

tial dangers to public health, welfare, and the environment. As many of

Amici States here explained in public comments supporting the EPA’s

designation of PFOA and PFOS as hazardous substances under CERCLA,

“a substantial body of scientific evidence shows that PFOA/PFOS are

persistent, pervasive, and mobile in the environment and that exposure

to even small amounts of either chemical can lead to adverse human

health effects.” Att’ys Gen. of the State of New York et al., Comment

Letter on Proposed Designation of PFOA/PFOS as CERCLA Hazardous

Substances 2 (Nov. 7, 2022). 3

      Numerous studies demonstrate that exposure to relatively small

amounts of either chemical can lead to an array of adverse human health

effects. See 89 Fed. Reg. at 39143–46 (collecting studies and literature).




      3 (For sources available online, complete URLs are in the Table of

Authorities. All websites were last visited on January 24, 2025.)
                                    6
USCA Case #24-1193   Document #2096374       Filed: 01/24/2025   Page 16 of 38



These studies establish that PFOA and PFOS can be transmitted to

fetuses via maternal blood and to newborns, infants, and children via

breast milk or formula made with contaminated water. Id. at 39143–44.

Fetuses are particularly sensitive to these chemicals, and exposure can

have severe developmental effects, such as low birth weight, smaller head

circumference at birth, and skeletal variations. Id. PFOA and PFOS

exposure also increases the risk of high blood pressure during pregnancy,

which can lead to maternal complications and poor fetal growth or

stillbirth. Id. at 39146. Exposure to these chemicals is also linked to

accelerated puberty, immunosuppression, and high cholesterol in children.

Id. at 39144–45.

      The scientific literature demonstrates that PFOA and PFOS are

hazardous to the health of adults as well. For example, the International

Agency for Research on Cancer has classified PFOA as carcinogenic to

humans and PFOS as possibly carcinogenic to humans. Id. at 39145

(citing Shelia Zahm et al., Carcinogenicity of Perfluorooctanoic Acid and

Perfluorooctanesulfonic Acid, Lancet Oncology (Nov. 30, 2023)). Similarly,

the EPA has determined that PFOA and PFOS are likely to be carcino-

genic to humans based on evidence that these substances are linked to


                                    7
USCA Case #24-1193    Document #2096374       Filed: 01/24/2025   Page 17 of 38



testicular, kidney, and breast cancer (for PFOA) and liver cancer (for

PFOS). Id. PFOA and PFOS exposure can also lead to liver damage,

increased cholesterol, decreased thyroid hormone levels, and decreased

bone density. Id. at 39145–46. In light of the growing consensus regarding

the toxicity of these chemicals, the EPA promulgated a rule last year

establishing nationwide drinking water standards for certain PFAS,

including PFOA and PFOS. See PFAS National Primary Drinking Water

Regulation, 89 Fed. Reg. 32532 (Apr. 26, 2024) (to be codified at 40 C.F.R.

pts. 141–142). Courts, too, have recognized the toxicity of these chemicals.

See, e.g., Benoit v. Saint-Gobain Performance Plastics Corp., 959 F.3d

491, 495, 501–02 (2d Cir. 2020).

      The scientific evidence in the record establishes that PFOA and

PFOS are not only toxic but are also persistent and mobile in the

environment—meaning they can easily migrate through soil and into

groundwater and remain there for years without degrading. See 89 Fed.

Reg. at 39147. Consequently, these chemicals are sometimes referred to

as “‘forever’ chemicals.” Id.

      PFOA and PFOS were produced and used in U.S. manufacturing

since the 1940s, becoming widely used in commercial and consumer


                                     8
USCA Case #24-1193    Document #2096374       Filed: 01/24/2025   Page 18 of 38



products. See id. at 39139. For decades, they were often released through

wastewater and other waste streams. See id. at 39139–40. Because of this

widespread use, PFOA and PFOS became prevalent in soil, water sources,

plants, and animals. And because PFOA and PFOS persist for long

periods of time without degrading, these substances have remained

prevalent despite more recent efforts to phase them out. See id. at 39140.

Today, both chemicals are still used in smaller quantities for more

limited purposes, and facilities continue to release significant amounts of

them into the environment. See id.

      The mobility and persistence of these chemicals increase the

likelihood of human exposure from a release. And the prevalence of PFOA

and PFOS in the environment, along with these chemicals’ ability to

accumulate over time, creates a greater potential for communities to be

exposed to these substances at concentrations that could result in adverse

health effects. See id. at 39141–43. For example, PFOA and PFOS have

been detected in the air, groundwater monitoring wells, drinking-water

wells and systems, surface waters, landfills, wastewater treatment

systems, agricultural fields, livestock, and wildlife. See id. at 39147. They

have also been detected in meat, dairy products, fish, eggs, vegetables,


                                     9
USCA Case #24-1193   Document #2096374       Filed: 01/24/2025   Page 19 of 38



and snack foods. Id. at 39148. Humans can thus be exposed to PFOA and

PFOS through multiple sources, including ingestion of contaminated

water, plants, and animals. Id. at 39147–48.

      The fact that PFOA and PFOS degrade at very slow rates further

contributes to their dangerousness because these chemicals can accumulate

in humans. See id. at 39126, 39144. A recent health survey detected

PFOA and PFOS in the blood of nearly all participants in the United

States. See id. at 39148. Blood tests show that high levels of PFOA and

PFOS persist even after drinking water has been brought below state and

federal drinking-water guideline levels for these chemicals. See Nat’l Ctr.

for Env’t Health & Agency for Toxic Substances & Disease Registry,

PFAS Exposure Assessments Final Report: Findings Across Ten Exposure

Assessment Sites 60–63 (Sept. 2022). Thus, the adverse health effects

from PFOA and PFOS can remain even after the contamination of a

particular water source or area has been cleaned up. See 89 Fed. Reg. at

39144, 39147–48.

      The persistence and mobility of PFOA and PFOS highlight a

fundamental flaw in petitioners’ argument that the EPA’s reasoning here

could be applied to designate as hazardous under CERCLA nearly any


                                    10
USCA Case #24-1193   Document #2096374       Filed: 01/24/2025   Page 20 of 38



substance that can harm humans if released in sufficient amounts,

including commonly used substances such as table salt. See Opening Br.

for Pet’rs (Pet’rs Br.) at 32. When the EPA designated PFOA and PFOS

as hazardous substances, it appropriately considered not only the potential

harm to humans or the environment from exposure to the substance (i.e.,

hazard) but also how the substance potentially moves, persists, or changes

when it is in the environment (i.e., environmental fate and transport).

See 89 Fed. Reg. at 39141. Not all substances that are harmful to human

health if released in sufficient amounts will necessarily be as persistent

or mobile in the environment as PFOA and PFOS. The Rule here is thus

not overly broad (contra Pet’rs Br. at 31–32), because the EPA appropri-

ately considered specific characteristics of PFOA and PFOS that render

them hazardous.

      Petitioners’ argument that the EPA’s interpretation of CERCLA

section 102(a) is unreasonably broad ignores the reality that substances

vary in the dangers they pose. As the EPA correctly explained, different

substances present substantial dangers to public health, welfare, and the

environment for different reasons. See 89 Fed. Reg. at 39141. For example,

arsenic and nitroglycerin are both hazardous substances under CERCLA,


                                    11
USCA Case #24-1193   Document #2096374       Filed: 01/24/2025   Page 21 of 38



see 40 C.F.R. § 302.4 tbl., but arsenic is a hazardous substance because it

is highly poisonous, while nitroglycerin is a hazardous substance because

it is highly explosive, see N.J. Dep’t of Health, Hazardous Substance Fact

Sheet: Arsenic (2008); N.J. Dep’t of Health, Hazardous Substance Fact

Sheet: Nitroglycerin (2001). Accordingly, Congress’s broad delegation to

the EPA of authority to determine which substances “may present

substantial danger to the public health or welfare or the environment”

when released into the environment, 42 U.S.C. § 9602(a), provides the

EPA with flexibility to consider a substance’s particular characteristics

and the ways in which those characteristics make that substance danger-

ous. Here, the EPA engaged in reasoned decision-making, squarely

within the boundaries of its statutory authority, when it considered the

specific characteristics of PFOA and PFOS and determined that those

characteristics make these two chemicals hazardous substances. See

Loper Bright Enters. v. Raimondo, 603 U.S. 369, 395 (2024); Env’t Def.

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                                    12
USCA Case #24-1193   Document #2096374        Filed: 01/24/2025   Page 22 of 38



      B.   In Amici States’ Experience, PFOA and PFOS
           Cause Substantial Harm to Public Health,
           Welfare, and the Environment.

      Amici States have extensive experience with the dangers of PFOA

and PFOS because Amici have been investigating and remediating contam-

ination involving these chemicals for nearly a decade. See, e.g., N.Y. Dep’t

of Env’t Conservation, Per- and Polyfluoroalkyl Substances (PFAS) (n.d.).

This experience demonstrates that PFOA and PFOS harm public health,

welfare, and the environment, as the EPA properly determined in the Rule.

      PFOA and PFOS contamination has deprived communities across

the country of safe water for drinking, agriculture, and recreation.

Elevated levels of these chemicals have been detected in rivers, lakes,

streams, and the drinking water for millions of residents in States, Tribes,

and U.S. territories. See 89 Fed. Reg. at 39147–48. And States have

incurred significant costs—tens of millions of taxpayer dollars—to respond

to this contamination by, for instance, testing public and private water

resources, installing water treatment technologies for drinking water,

and providing for alternate water supplies. See Letter from Att’ys Gen. of

the State of New York et al. to the U.S. Senate Comm. on Env’t & Pub.

Works 3 (Nov. 15, 2021).


                                    13
USCA Case #24-1193   Document #2096374       Filed: 01/24/2025   Page 23 of 38



      For example, in response to contamination from PFAS, including

from PFOA and PFOS, New York has had to provide over 2,000 locations

across the state with alternate water supplies, such as bottled water,

treatment systems, or connections to public water systems. See N.Y. Div.

of Env’t Remediation, Dep’t of Env’t Conservation, 2022/2023 Annual

Report 28 (2023). Similarly, Colorado had to provide thousands of residents

with alternate water supplies and treat contaminated wells in the Security-

Widefield area after unsafe levels of PFOA and PFOS entered public

water systems through use of firefighting foam on a nearby military base.

See Agency for Toxic Substances & Disease Registry, Per- and Poly-

fluoroalkyl Substances (PFAS) Exposure Assessment Report: Security-

Widefield, El Paso County, Colorado 3–4 (June 2022). States have also

needed to prohibit public contact with surface waters in some instances,

to the detriment of residents and tourists who recreate there. See, e.g.,

High Levels of Perfluorinated Compounds in Lake Holloman, NMHealth

(May 9, 2019) (warning the public not to drink water or swim in water at

Lake Holloman).

      PFOA and PFOS contamination has also hurt States’ agricultural

industries. For example, a dairy farm and major agricultural business in


                                    14
USCA Case #24-1193   Document #2096374        Filed: 01/24/2025   Page 24 of 38



Clovis, New Mexico, was forced to euthanize over 3,500 cows exposed to

PFOA and PFOS contamination because they produced milk that contained

unsafe levels of those chemicals. See Jordan Honeycutt, State of New

Mexico Helping Clovis Dairy That Had to Euthanize Cows, KRQE News

(May 19, 2022); see also N.M. Env’t Dep’t, Approval of Application for

Depopulation & Removal Plan with Narrative to Application for DIPP

Cow Buy-Out Indemnity Benefits for Highland Dairy Cow Herd: Animal

Deaths Caused by Cannon Air Force Base PFAS Contamination 13–15

(May 12, 2022).

      In recognition of the dangers posed by PFOA and PFOS, at least

thirty States have taken action to protect their residents and natural

resources from the harms posed by PFOA and PFOS. See Off. of Land &

Emergency Mgmt., Regulatory Impact Analysis (RIA) of the Final Rule-

making to Designate Perfluorooctanoic Acid (PFOA) and Perfluoro-

octanesulfonic Acid (PFOS) as CERCLA Hazardous Substances 89–112

(Apr. 2024). Such actions have included adopting regulatory structures,

standards, screening levels, programs, and guidance values for PFAS in

drinking water, ground water, surface water, soil, biosolids, air, and other




                                    15
USCA Case #24-1193   Document #2096374       Filed: 01/24/2025   Page 25 of 38



media. See id.; see also Interstate Tech. Regul. Council, PFAS Regulatory

Programs Table (Sept. 2023).

      Indeed, several States have designated PFOA and PFOS as

hazardous substances or their equivalents under state law.4 This includes

Alaska, which has determined that PFOA and PFOS not only may

present a substantial danger to public health, welfare, and the environ-

ment, as the EPA found in its rulemaking, but that these chemicals

“present[] an imminent and substantial danger to the public health or

welfare.” Alaska Stat. § 46.03.826(5)(A) (emphasis added). Additionally,

twenty-five States have established regulations to prohibit or control the

use of firefighting foam that contains PFAS, including PFOA and PFOS.

See Regulatory Impact Analysis, supra, at 92–96. And many States have

taken actions to eliminate PFAS, including PFOA and PFOS, in food

packaging and textile products. See id. at 96–100.




      4 See Alaska Admin. Code tit. 18, §§ 75.341 tbl.B1, 75.345 tbl.C;

Colo. Code Regs. § 1007-3 pt. 261 app. VIII; 7 Del. Admin. Code § 1375-
2.0; Del. Div. of Waste & Hazardous Substances, Hazardous Substance
Cleanup Act Screening Level Table Guidance app. A (Oct. 2024); 301
Mass. Code Regs. 41.03(13); Mich. Admin. Code r. 299.44; N.J. Admin.
Code § 7:1E app. A; 6 N.Y.C.R.R. § 597.3; Wash. Admin. Code § 173-
201A-240.
                                   16
USCA Case #24-1193   Document #2096374       Filed: 01/24/2025   Page 26 of 38



      Because of collective efforts to remediate contamination, PFOA and

PFOS levels in surface waters and blood have been declining. See

Designation of Perfluorooctanoic Acid (PFOA) and Perfluorooctanesulfonic

Acid (PFOS) as CERCLA Hazardous Substances, 87 Fed. Reg. 54415,

54427–28 (Sept. 6, 2022); 89 Fed. Reg. at 39126. However, that does not

mean, as petitioners and their amici incorrectly suggest (see Pet’rs Br. at

13; Amicus Br. of Superfund Settlements Project in Supp. of Pet’rs and

Vacatur (SSP Br.) at 16), that these chemicals should not be designated

as hazardous substances under CERCLA. Section 102(a) requires that a

substance present a substantial danger “when released into the environ-

ment,” 42 U.S.C. § 9602(a)—regardless of whether such releases occurred

in the past or are ongoing. In any event, data show that despite State

efforts, these chemicals are still being released into the environment in

significant quantities—facilities released over 70,000 pounds of PFOA

and PFOS into the environment between 2020 and 2022. See 89 Fed. Reg.

at 39140. And PFOA and PFOS levels are still detected in a high

percentage of the U.S. population, which indicates that humans are still

being exposed to PFOA and PFOS. Id.




                                    17
USCA Case #24-1193   Document #2096374      Filed: 01/24/2025   Page 27 of 38



II.   THE RULE WILL ENHANCE STATES’ ABILITIES TO RESPOND TO
      PFOA AND PFOS CONTAMINATION PROMPTLY AND EFFECTIVELY,
      WHILE HOLDING THE PARTIES PRIMARILY RESPONSIBLE FOR THE
      CONTAMINATION ACCOUNTABLE FOR CLEANUP COSTS.

      Congress enacted CERCLA to achieve timely remediation of sites

contaminated with hazardous substances while ensuring that the parties

responsible for the contamination bear the cleanup costs. See, e.g., 89

Fed. Reg. at 39137. As decades of state experience with CERCLA

demonstrates, applying CERCLA’s tools to PFOA- and PFOS-contaminated

sites will further each of these congressional goals. The hazardous-

substance designation will enhance States’ abilities to respond to PFOA

and PFOS contamination promptly and efficiently, thereby protecting

human health and the environment. And applying CERCLA’s tools to

PFOA and PFOS contamination is the best way to ensure that the parties

primarily responsible for the contamination shoulder the brunt of

remediation costs rather than state taxpayers or those landowners who

are not primarily responsible for the contamination. See id. at 39129–30,

39160.

      For decades, States have played an important role in effectuating

CERCLA and thus have extensive experience with how it operates in

practice. Section 121(f) requires that federal regulations provide each

                                   18
USCA Case #24-1193   Document #2096374        Filed: 01/24/2025   Page 28 of 38



State substantial and meaningful involvement in initiating, developing,

and selecting remedial actions to be undertaken in that State. See 42

U.S.C. § 9621(f). And section 104(d) authorizes States to take a lead role

in carrying out response actions under CERCLA pursuant to contracts or

cooperative agreements with the EPA. See id. § 9604(d)(1). See generally

Cooperative Agreements and Superfund State Contracts for Superfund

Response Actions, 75 Fed. Reg. 49414, 49415 (Aug. 13, 2010).

      Additionally, CERCLA section         120(f)   authorizes States to

participate in the planning and selection of remedial actions to address

contamination at federal facilities. See 42 U.S.C. § 9620(f); see also id.

§ 9620 (CERCLA’s substantive and procedural provisions apply to “[e]ach

department, agency, and instrumentality of the United States”). As

discussed supra at 14, this is particularly important at U.S. miliary bases,

where the use of certain materials (e.g., firefighting foam) can severely

contaminate the surrounding environment and public water supplies. See

Att’ys Gen., Comment Letter, supra, at 6 n.11. Further, States often

pursue the cleanup of sites that are not listed on the national priorities

list and have successfully brought actions against responsible parties to

recover the costs of cleaning up hazardous substances that, like PFOA


                                    19
USCA Case #24-1193   Document #2096374       Filed: 01/24/2025   Page 29 of 38



and PFOS, are ubiquitous. See, e.g., New York v. Adamowicz, 16 F. Supp.

3d 123, 144 (E.D.N.Y. 2014) (trichloroethene and tetrachloroethene), aff’d,

609 F. App’x 19 (2d Cir. 2015).

      The Rule greatly benefits States and their residents by increasing

transparency and accountability around PFOA and PFOS releases and

expanding the EPA’s and States’ abilities to respond efficiently and

effectively to PFOA and PFOS contamination. Although States have been

developing their own regulatory structures to address PFOA and PFOS

contamination, the EPA’s designation of these chemicals as hazardous

substances unlocks the full suite of tools available to States under

CERCLA.

      For instance, under the Rule, releases of one or more pounds of

PFOA or PFOS in any twenty-four-hour period must be reported to

federal, state, and local authorities. 89 Fed. Reg. at 39131, 39151; see 42

U.S.C. §§ 9603(a), 11004. The current Toxic Release Inventory reporting

threshold for PFOA and PFOS is 100 pounds, and reported releases have

been increasing in recent years. See 89 Fed. Reg. at 39140. Applying

CERCLA’s stricter reporting requirements to PFOA and PFOS will allow

Amici States and their localities to respond to smaller releases sooner,


                                    20
USCA Case #24-1193   Document #2096374        Filed: 01/24/2025   Page 30 of 38



which will reduce exposure to these chemicals and minimize the likelihood

of adverse health effects. See id. at 39150–51. Enhanced reporting and

quick response are especially important for PFOA and PFOS because of

their mobility and persistence once released. Delays in addressing releases

give PFOA and PFOS more time to migrate within the environment and

exacerbate contamination. See id.

      Additionally, the Rule enables States to recover remediation costs

from polluters and seek compensation for natural resources damaged by

PFOA and PFOS contamination. See 42 U.S.C. §§ 9607, 9613(f); 43 C.F.R.

§ 11.15(a)(1). The availability of cost-recovery actions under CERCLA

accomplishes a principal objective of the statute: to ensure that parties

responsible for contamination bear site cleanup costs that are otherwise

borne by taxpayers. See 89 Fed. Reg. at 39152. As the EPA explained in

its rulemaking, such transfer of costs from taxpayers to polluters does

not result in a net increase in economic costs. Id. at 39153 n.48. It simply

changes who pays the cleanup costs, as Congress intended. See id.

      There is no merit to the unsubstantiated arguments of petitioners

and their amici that the designation of PFOA and PFOS as hazardous

substances will unduly or unjustly subject millions of landowners to


                                    21
USCA Case #24-1193    Document #2096374       Filed: 01/24/2025   Page 31 of 38



CERCLA liability. See Pet’rs Br. at 71–77; SSP Br. at 12–14; Br. for

Passive Receivers as Amici Curiae in Supp. of Remand (Passive Receivers

Br.) at 13–16. States have been pursuing cost-recovery actions under

CERCLA against potentially responsible parties for decades without

imposing limitless or unfair liability on landowners—as petitioners and

their amici speculate would result from the Rule. CERCLA provides

parties that are not primarily responsible for contamination with statutory

protections to limit their liability. See 89 Fed. Reg. at 39160–62. For

example, landowners who believe that they paid more than their fair

share of response costs at a site may seek contribution from other liable

parties, and courts will typically allocate the parties’ share of costs based

on equitable factors. See id. at 39161–62; 42 U.S.C. § 9613(f)(1).

Moreover, under CERCLA section 107(a), States can pursue cost-recovery

actions only if their cleanup actions are not inconsistent with the national

contingency plan. See 42 U.S.C. § 9607(a)(4). That plan provides a technical

and detailed process for implementing response actions and creates

benchmarks that may limit actions that would have no discernible

human health, welfare, or environmental benefit. 89 Fed. Reg. at 39162;

see id. at 39171–72. Additionally, a party that resolves its potential


                                     22
USCA Case #24-1193   Document #2096374        Filed: 01/24/2025   Page 32 of 38



liability with a State or the EPA in a judicially approved settlement is

entitled to contribution protection, i.e., the ability to block third-party

claims for matters addressed in the settlement. See 42 U.S.C. § 9613(f).

      CERCLA also provides defenses to and exemptions from liability

for certain types of parties, such as residential, small business, and

nonprofit generators of municipal solid waste. See id. § 9607(p). Similarly,

CERCLA excludes normal applications of fertilizer from the definition of

“releases” of hazardous substances covered by the statute. 5 See id.

§ 9601(22). Petitioners’ amici notably fail to mention this exclusion when

they speculate that farmers who unwittingly fertilized their land using

PFOA- or PFOS-contaminated fertilizer might face significant CERCLA

liability. See Passive Receivers Br. at 19–20.

      Petitioners’ argument that PFOA’s and PFOS’s prevalence in the

environment will result in CERCLA liability “everywhere” under the

Rule (Pet’rs Br. at 74) improperly ignores the realities of cleanup efforts.

Just as the EPA has created a strategic roadmap and developed




      5 As the EPA explained, application of this exclusion requires a site-

specific analysis. See 89 Fed. Reg. at 39168–69.
                                    23
USCA Case #24-1193   Document #2096374        Filed: 01/24/2025   Page 33 of 38



enforcement discretion policies for PFOA and PFOS,6 States have also

developed plans to prioritize their cleanup efforts to protect communities

from high-risk, high-concentration PFOA and PFOS exposures and ensure

that cleanup costs are equitably shouldered by the parties primarily

responsible for the contamination. Minnesota, for example, has specifically

identified the need to avoid unfairly burdening water utilities, waste

facilities, farmers, and the general public with costs that should be borne

by polluters. Sophie Greene & Catherine Neuschler, Minn. Pollution

Control Agency, Minnesota’s PFAS Blueprint: A Plan to Protect Our

Communities and Our Environment from Per- and Polyfluorinated Alkyl

Substances 55, 86, 100, 172 (Feb. 2021).

      Contrary to petitioners’ speculation, there is no reason to expect

that the Rule’s designation of PFOA and PFOS as hazardous substances

will operate differently in practice than any of the EPA’s previous designa-

tions of hazardous substances. See 89 Fed. Reg. at 39160–62, 39170.




      6 See PFAS Strategic Roadmap: EPA’s Commitments to Action 2021–

2024, EPA (updated Nov. 15, 2024); Memorandum from David M. Uhlmann,
Assistant Adm’r, Off. of Enf’t & Compliance Assurance, EPA, to Reg’l
Adm’rs et al. on PFAS Enforcement Discretion and Settlement Policy
Under CERCLA (Apr. 19, 2024).
                                    24
USCA Case #24-1193    Document #2096374       Filed: 01/24/2025   Page 34 of 38



Indeed, the current list of “hazardous substances” under CERCLA includes

over 800 substances, see 40 C.F.R. § 302.4 tbl., including several that, like

PFOA and PFOS, degrade slowly, move easily through the environment,

and are ubiquitous. See 89 Fed. Reg. at 39161–62, 39170 (discussing

trichloroethene, tetrachloroethene, polychlorinated biphenyls, mercury,

and arsenic). Even though people regularly come into contact with these

hazardous substances, CERCLA has operated in a reasonable and fair

way, generally protecting those from liability who have played little to no

role in significant environmental contamination. See id. at 39162. Conse-

quently, the EPA did not act arbitrarily or capriciously when it determined

that the substantial advantages of the Rule outweigh the speculative

possibility of litigation against parties that are not primarily responsible

for PFOA and PFOS contamination. See id. at 39163; see also Env’t Def.

Fund, 124 F.4th at 11–13.




                                     25
USCA Case #24-1193     Document #2096374        Filed: 01/24/2025   Page 35 of 38



                               CONCLUSION

      For the foregoing reasons, the Court should deny the petition for

review.

Dated: January 24, 2025

                                           Respectfully submitted,

                                           LETITIA JAMES
                                            Attorney General
                                            State of New York



                                     By: . /s/ Joshua N. Cohen        .
                                          JOSHUA N. COHEN
                                          Assistant Solicitor General

BARBARA D. UNDERWOOD                       28 Liberty Street
 Solicitor General                         New York, New York 10005
JUDITH N. VALE                             (212) 416-8039
 Deputy Solicitor General
JOSHUA N. COHEN
 Assistant Solicitor General
PHILIP BEIN
 Senior Counsel
KYLE BURNS
 Assistant Attorney General
MIHIR DESAI
 Assistant Attorney General
     of Counsel

                     (Counsel list continues on next page.)




                                      26
USCA Case #24-1193   Document #2096374        Filed: 01/24/2025   Page 36 of 38



KRISTIN K. MAYES                         PHILIP J. WEISER
 Attorney General                         Attorney General
 State of Arizona                         State of Colorado
2005 N. Central Ave.                     1300 Broadway, 10th Fl.
Phoenix, AZ 85004                        Denver, CO 80203

WILLIAM TONG                             BRIAN L. SCHWALB
 Attorney General                         Attorney General
 State of Connecticut                     District of Columbia
165 Capitol Ave.                         400 6th St., NW, Ste. 8100
Hartford, CT 06106                       Washington, DC 20001

KWAME RAOUL                              ANTHONY G. BROWN
 Attorney General                         Attorney General
 State of Illinois                        State of Maryland
201 W. Pointe Dr., Ste. 7                200 Saint Paul Pl.
Belleville, IL 62226                     Baltimore, MD 21202

ANDREA JOY CAMPBELL                      DANA NESSEL
 Attorney General                         Attorney General
 Commonwealth of Massachusetts            State of Michigan
One Ashburton Pl., 18th Fl.              P.O. Box 30212
Boston, MA 02108                         Lansing, MI 48909

KEITH ELLISON                            MATTHEW J. PLATKIN
 Attorney General                         Attorney General
 State of Minnesota                       State of New Jersey
445 Minnesota St., Ste. 1800             25 Market St.
St. Paul, MN 55101                       Richard J. Hughes Justice Complex
                                         Trenton, NJ 08625

RAÚL TORREZ                              DAN RAYFIELD
 Attorney General                         Attorney General
 State of New Mexico                      State of Oregon
408 Galisteo St.                         1162 Court St. NE
Santa Fe, NM 87501                       Salem, OR 97301



                                   27
USCA Case #24-1193   Document #2096374        Filed: 01/24/2025   Page 37 of 38



NICHOLAS W. BROWN                        JOSH KAUL
 Attorney General                         Attorney General
 State of Washington                      State of Wisconsin
P.O. Box 40100                           17 W. Main St.
Olympia, WA 98504                        Madison, WI 53703




                                   28
USCA Case #24-1193   Document #2096374        Filed: 01/24/2025   Page 38 of 38



                     CERTIFICATE OF SERVICE

      I hereby certify that, on January 24, 2025, I electronically filed the

foregoing Brief for Amici Curiae using the Court’s CM/ECF system and

that, therefore, service was accomplished upon counsel of record by the

Court’s CM/ECF system.


Dated: New York, NY
       January 24, 2025

                                          /s/ Joshua N. Cohen          .
